          Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 1 of 28



                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

LIMA LS PLC,                                    :
           Plaintiff,                           :
                                                :
v.                                              :      3:12-cv-1122 (WWE)
                                                :
PHL VARIABLE INSURANCE COMPANY,                 :
PHOENIX LIFE INSURANCE COMPANY,                 :
THE PHOENIX COMPANIES, INC.,                    :
JAMES D. WEHR, PHILIP K.                        :
POLKINGHORN, EDWARD W. CASSIDY,                 :
DONA D. YOUNG and DOES 1-20,                    :
           Defendants.                          :

     MEMORANDUM OF DECISION ON DEFENDANTS’ MOTION TO DISMISS

      In this action, plaintiff Lima LS PLC has brought its complaint concerning life

insurance policies bought on the secondary market against defendants PHL Variable

Insurance Company (“PHL”), Phoenix Life Insurance Company (“PLIC”), The Phoenix

Companies, Inc. (“PNX”) (collectively, the “Phoenix Defendants”), James Wehr, Philip

Polkinghorn, Edward Cassidy, Dona Young and Does 1-20 (collectively, the “Individual

Defendants”). Plaintiff alleges the following counts: (1) monopsony1/monopoly in

violation of Connecticut General Statutes §§ 35-27 and 35-28 against the Phoenix

Defendants; (2) attempted monopsony/monopoly in violation of Connecticut General

Statutes §§ 35-27 and 35-28 against the Phoenix Defendants; (3) violation of the

Connecticut Unfair Trade Practices Act (“CUTPA”) against the Phoenix Defendants; (4)


      1
       “Monopsony power is market power on the buy side of the market. . . . As such,
a monopsony is to the buy side of the market what a monopoly is to the sell side and is
sometimes colloquially called a ‘buyer’s monopoly.’” Weyerhaeuser Co. v. Ross-
Simmons Hardwood Lumber Co., Inc., 549 U.S. 312, 321 (2007). The equation for
measuring market power in monopsony is a “mirror image” of the relationships creating
market power in a seller. Todd v. Exxon Corp., 275 F.3d 191, 202 (2d Cir. 2001)

                                           1
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 2 of 28



violation of the Racketeering Influenced and Corrupt Organizations Act against the

Individual Defendants; and (5) common law fraud and conspiracy against all

defendants.

       Defendants now move to dismiss this complaint for failure to state plausible

claims for relief. For the following reasons, the motion to dismiss will be granted in part

and denied in part.

                                    I. BACKGROUND

       For purposes of ruling on a motion to dismiss, the Court accepts all allegations of

the complaint as true.

       Plaintiff is a company incorporated in England and Wales with limited liability. Its

principal place of business is London.

       The Phoenix Companies (“PNX”) is the parent company of PHL Variable

Insurance Company (“PHL”) and Phoenix Life Insurance Company (“PLIC”). PNX’s

officers and directors overlap with the officers and directors of defendants PHL and

PLIC. PLIC issued the life insurance policies owned by plaintiff.

       James Wehr is the President and Chief Executive Officer of PNX. Philip

Polkinghorn is the Executive Vice President of Business Development of PNX and

President of PNX’s Life and Annuity Business Segment. Edward Cassidy is the

Executive Vice President of Distribution of PNX. Dona Young was the President of

PNX from 2000 to April 15, 2009; the Chief Executive Officer and Chairman of the

Board of PNX from 2003 to April 15, 2009; and a consultant to PNX until at least April

15, 2010.

       The Phoenix Defendants have targeted the market of high net worth individuals,

                                             2
        Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 3 of 28



who may want to invest in life insurance with the knowledge that they might sell their

policies in the future on the secondary market. The Phoenix Defendants have relied

upon the existence of the secondary market for life insurance to drive the primary

market for life insurance policies with high death benefits.

       Plaintiff is a participant and investor in the secondary market for Phoenix life

insurance policies. Plaintiff holds the interest in 197 Phoenix policies (the “Policies”)

currently in force that were issued between 2003 and 2009. The Phoenix Defendants

have collected premiums paid by plaintiff on these policies, although plaintiff has lapsed

or surrendered 52 policies. Plaintiff acquired the interest in the policies in December

2010 through its acquisition of five limited liability companies that held interests in the

Policies. Plaintiff has resold or attempted to resell Phoenix policies to other investors in

the secondary market.

       After the stock market crashed in 2008, the Phoenix Defendants sustained

massive financial losses and faced difficulty in meeting contractual obligations on

billions of dollars in life insurance policies. In response to a weak financial position, the

Individual Defendants and other corporate officers orchestrated a plan designed to

eliminate the liabilities associated with the life insurance policies. Defendants launched

an aggressive campaign to attack and undermine previously-issued policies by refusing

to honor or record transfers of ownership. Through such strategy, a policy issued by

defendants would become undesirable even to the policyholders, who would be faced

with the decision whether to continue paying premiums in light of the uncertainty

concerning the future payment of benefits by the Phoenix Defendants. Thus, the

uncertainty created by defendants would induce policyholders to lapse or surrender

                                              3
        Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 4 of 28



their policies back to the Phoenix Defendants. The Phoenix Defendants would then be

able to keep all or most of the premiums without shedding the future liabilities

associated with the policies.

       Defendants have engaged in tactics to maintain or attain a monopsony for the

Phoenix Defendants in light of their unique position to control the value of Phoenix life

insurance policies on the secondary market. The Phoenix Defendants have driven the

secondary market purchasers out of the market while forcing secondary market sellers

to decide whether to continue to pay premiums or sell their policies back for nothing or

next to nothing.

       The Phoenix Defendants’ alleged anticompetitive acts in controlling the

secondary market include: (1) refusing to record the transfer of ownership of policies to

prevent the secondary market sales of policies to buyers other than the Phoenix

Defendants; (2) refusing to tell policyholders whether the policies would be honored; (3)

improperly raising cost of insurance (“COI”) rates for unauthorized purposes, including

targeting policies that were purchased by competitors in the secondary market for

policies; (4) raising COI rates on policies that the Phoenix Defendants later contend are

void; (5) issuing false and misleading policy illustrations that reflect higher future COI

charges to cause policyholders to misprice their policies and/or cause them to make a

decision to lapse or surrender their policies; (6) reneging on verifications of coverage;

(7) informing policyholders that they cannot rely on the Phoenix Defendants’ written

statements; (8) improperly denying death benefit claims on the ground that the policies

are invalid; (9) delaying and refusing to pay death benefits for pretextual and bad faith

reasons; and (10) refusing to return the premiums collected when seeking to rescind or

                                              4
        Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 5 of 28



void policies.

       Defendants have allegedly used litigation for an improper anticompetitive

purpose by initiating lawsuits without regard to fact or law seeking to void policies. The

Phoenix Defendants are now parties in approximately 86 lawsuits.

       The Phoenix Defendants’ conduct has resulted in a diminished secondary

market for their life insurance policies. Any buyers are only willing to purchase policies

at severely reduced prices because they do not know whether the terms of the policies

will be honored. Plaintiff has suffered and will continue to suffer financial injury

because it has been deprived of revenue and profits that it would have made on the

policies had the value of such policies not been diminished by defendants’

anticompetitive conduct.

                                     II. DISCUSSION

       The function of a motion to dismiss is “merely to assess the legal feasibility of the

complaint, not to assay the weight of the evidence which might be offered in support

thereof.” Ryder Energy Distrib. v. Merrill Lynch Commodities, Inc., 748 F.2d 774, 779

(2d Cir. 1984). When deciding a motion to dismiss, the Court must accept all

well-pleaded allegations as true and draw all reasonable inferences in favor of the

pleader. Hishon v. King, 467 U.S. 69, 73 (1984). The complaint must contain the

grounds upon which the claim rests through factual allegations sufficient “to raise a right

to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). A plaintiff is obliged to amplify a claim with some factual allegations to allow the

court to draw the reasonable inference that the defendant is liable for the alleged

conduct. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                              5
        Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 6 of 28



       With regard to allegations of fraud or fraudulent conduct, a plaintiff must comply

with the higher pleading standard required by Federal Rule of Civil Procedure 9. In

order to satisfy Rule 9(b), a complaint must: (1) specify the statements that the plaintiff

contends were fraudulent; (2) identify the speaker; (3) state where and when the

statements or omissions were made; and (4) explain why the statements or omissions

were fraudulent. Antian v. Coutts Bank (Switzerland) Ltd., 193 F.3d 85, 88 (2d Cir.

1999). A plaintiff may make general allegations of malice, intent, knowledge or other

state of mind, but the facts must give rise to a strong inference of fraudulent intent.

Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994). The purpose of

the specificity requirement is: (1) to ensure that a complaint provides a defendant with

fair notice of plaintiff’s claim; (2) to safeguard a defendant’s reputation from improvident

charges; and (3) to protect defendant from a strike suit. O’Brien v. Nat’l Prop. Analysts

Partners, 936 F.2d 674, 676 (2d Cir. 1991).

       A.     Antitrust

       Plaintiff has brought its antitrust claims pursuant to the Connecticut Antitrust Act,

Connecticut General Statutes §§ 35-24 through 35-45. Specifically, plaintiff has alleged

claims for monopsony and attempted monopsony under Section 35-27, which provides

that “every contract, combination or conspiracy to monopolize, or attempt to

monopolize, or monopolization of any part of trade or commerce is unlawful;” and

Section 35-28, which prohibits contracts, concerted action or conspiracy to engage in

certain anticompetitive action, including, inter alia, price fixing; controlling rates or fees;

limiting production, sale or supply; allocating or dividing customers or markets; or

refusals to deal with another party.

                                               6
        Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 7 of 28



       Defendants assert that plaintiff’s Section 35-28 claims fail because plaintiff

cannot establish concerted action; and that plaintiff’s Section 35-27 claim fails because

(1) the relevant product market cannot be limited to the Phoenix Defendants’ brand; (2)

Phoenix Defendants have no market power; and (3) plaintiff has not alleged that the

Phoenix Defendants engaged in anticompetitive conduct. Generally, Connecticut

courts follow federal precedent to interpret the Connecticut Antitrust Act unless the text

of the statute or other relevant state law requires a different interpretation. Westport

Taxi Serv., Inc. v. Westport Transit Dist., 235 Conn. 1, 15 (1995).

       1.     Section 35-28

       Section 35-28 has been interpreted to codify federal case law relevant to “per se”

antitrust violations, notably Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1, which

prohibits restraints of trade effected by a contract, combination or conspiracy. Elida,

Inc. v. Harmor Realty Corp., 177 Conn. 218, 227 (1979); Southern New England Tel.

Co. v. Coho, 2005 WL 3112732, *2 (Conn. Super. 2005). A violation of Section 35-28

requires an unlawful contract, combination or conspiracy to commit certain

anticompetitive acts, and therefore, it requires a plurality of actors. Shea v. First

Federal Savings & Loan Ass’n of New Haven, 184 Conn. 285, 306 (1981). Here,

plaintiff claims that the Phoenix Defendants, which comprise a parent corporation and

two wholly-owned subsidiaries, violated Section 35-28. However, action by a

corporation and its wholly-owned subsidiaries cannot constitute a conspiracy or

concerted action between distinct legal entities. Copperweld Corp. v. Independence

Tube Corp., 467 U.S. 752, 769 (1984); Austrian M.D. v. United Health Grp., Inc., 2007

WL 2363301, *7 (Conn. Super. 2007). Accordingly, the claims of Section 35-28

                                              7
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 8 of 28



violation will be dismissed.

       2.     Section 35-27

       Section 35-27 is patterned after Section 2 of the Sherman Act. Wyatt Energy,

Inc. v. Motiva Enterprises, LLC, 2013 WL 2321454, *4 (Conn. May 30, 2013). Thus,

plaintiff’s claim of monopsony in violation of Section 35-27 requires proof of (1)

possession of monopsony/monopoly power in a relevant market and (2) the willful

acquisition or maintenance of that power as distinguished from growth attributable to a

superior product, business acumen or historic accident. Shea, 184 Conn. at 305.

       a.     Relevant Market

       The relevant market refers to the relevant product market and the relevant

geographic market. PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir. 2002).

Market definition is a fact-intensive inquiry that is generally not determined on a motion

to dismiss. See Todd, 275 F.3d at 199. At this stage of the case, a plaintiff must plead

a market that is plausible and rational. IHS Dialysis Inc. v. Davita, Inc., 2013 WL

1309737, *4 (S.D.N.Y. 2013).

       In this instance, the relevant market is the secondary market for life insurance

policies issued by the Phoenix Defendants. Defendants argue that plaintiff cannot

establish a rational or plausible single-brand market. See Green Country Food Mkt.,

Inc. v. Bottling Group, LLC, 371 F.3d 1275, 1282 (10th Cir. 2004) (explaining that

single-brand markets do not generally constitute the relevant market).

       Plaintiff counters that it can establish a single-brand market based on Eastman

Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451 (1992) and its progeny as applied

to the plaintiff’s allegations of monopsony.

                                               8
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 9 of 28



      In Kodak, independent service organizations (“ISOs”) that serviced Kodak

copying and micrographic equipment alleged that Kodak unlawfully tied the sale of

Kodak machines with the sales of parts and monopolized or attempted to monopolize

the sale of service of Kodak machines. Kodak competed with the ISOs for service

contracts relevant to Kodak equipment. After Kodak restricted access to its parts, the

ISOs were unable to obtain service contracts due to the lack of supply of parts. The

Supreme Court held that market power in the secondary market for replacement parts

and service for Kodak equipment could be unlawful, although Kodak lacked economic

power in the primary market for photocopiers and micrographic equipment. Id. at 481.

Specifically, it was plausible to infer Kodak’s exertion of market power based on

evidence of locked-in customers, high information and switching costs, and

discriminatory pricing. Id. at 477. Important factors to the Supreme Court’s holding

included (1) the fact that Kodak consumers had not entered into a contract to consume

Kodak parts and services upon purchase of certain Kodak equipment; and (2)

difficulties with obtaining accurate information and the costs of switching brands

prevented consumers from discovering that the purchase of the Kodak brand entailed a

“de facto” commitment to consume only supracompetitively priced Kodak service

contracts. Newcal Indus. v. IKON Office Solution, 513 F.3d 1038, 1046 (9th Cir. 2008).

      Thus, the Court must consider whether plaintiff has sufficiently alleged the Kodak

factors: (1) high switching costs faced by a substantial number of customers; (2) high

information costs faced by a substantial number of customers; and (3) exploitation of

the “locked-in” customers. Commercial Data Servers, Inc. v. International Business

Machines Corp., 262 F. Supp. 2d 50, 71 (S.D.N.Y. 2003).

                                            9
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 10 of 28



       As to the first factor, plaintiff has alleged that purchasers of Phoenix life

insurance policies become locked into a Phoenix-specific secondary market due to high

switching costs involving a lengthy application process. Plaintiff also alleges that

another life insurance company is not likely to insure the same individual with an

additional policy and that need for additional policies from another insurer is diminished.

As to information costs, plaintiff has alleged that the “lifecycle cost of universal life

insurance policies generally, and of Phoenix policies in particular, is not transparent to

prospective insureds in the primary market; it is instead difficult to understand and

opaque.” Plaintiff alleges further that “[c]onsumers who are the primary market

purchasers of life insurance have little or no access” to information concerning the basis

of the COI rate, which is “essential to the understanding of the true lifecycle cost of a

life insurance policy.” The complaint maintains that “insurers do not disclose precisely

how they have priced their policies, and they write their contracts in a manner that

makes them virtually incomprehensible to policyholders.” Relevant to the third factor,

plaintiff asserts that the Phoenix Defendants changed practices by raising or attempting

to raise the COI rates on policyholders who exercised their right to maintain lower

accumulated policy values and that the change in practices was not known or

foreseeable to policyholders at the time of policy purchase.

       Plaintiff refutes defendants’ assertion that plaintiff cannot establish a plausible

single-brand market without an allegation of tying. Plaintiff argues that it need not

allege any tying of product sales because this case involves a monopsony. Plaintiff

explains that, in a monopsony, the primary market seller (the secondary market

monopsonist) seeks to buy products in the secondary market at low costs and cuts off

                                              10
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 11 of 28



the secondary market seller from other potential buyers; by contrast, in a monopoly, the

primary market seller seeks to sell additional products in the secondary market, which

can be achieved by tying the primary market purchaser to additional purchases of

secondary products from the same seller. See Eastman Kodak, 504 U.S. at 464 n.9.

Thus, plaintiff maintains that it has sufficiently established a plausible monopsony by

alleging that potential buyers of the policies have been driven out of the secondary

market. Taking the allegations as true, the Court finds that plaintiff has alleged a

plausible market based on a single-brand market.

       b.     Market Power

       Defendants assert that plaintiff cannot plausibly allege that the Phoenix

Defendants held and maintained market share and market power over a sustained

period of time as required for an antitrust claim. See Todd, 275 F.3d at 199.

Defendants argue that no barriers exist to prevent other purchasers from entering the

market and that the Phoenix Defendants do not participate in the market.

       Plaintiff has alleged that the Phoenix Defendants retain a 75% share of the

secondary market for Phoenix life insurance policies, which should be sufficient to

establish market power for antitrust purposes. Image Tech. Servs. Inc. v Eastman

Kodak Co.,125 F.3d 1195, 1206 (9th Cir. 1997) (65% market share establishes a prima

facie case of market power). Defendants complain that this percentage includes the

policies that have lapsed and been surrendered to the Phoenix Defendants, which are

occurrences provided for by the life insurance contract.

       Plaintiff counters that the Court should focus upon the “economic reality of the

market at issue.” Eastman Kodak, 504 U.S. at 467. Plaintiff points out that the

                                            11
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 12 of 28



Supreme Court affirmed that market power could derive from a defendant’s ability to

use leases to exclude competitors from the market. Hanover Shoe, Inc. v. United Shoe

Machinery Corp., 392 U.S. 481, 486 n.3 (1968). Plaintiff has alleged that the lapses or

surrenders are the economic equivalent of a purchase and involve a transfer of the

policy in exchange for consideration; that the Phoenix Defendants intended to buy

policies in the secondary market; and that the Phoenix Defendants included language

in the policies affording the right to offer “consideration” in amounts not set by contract.

Further, plaintiff has alleged that the Phoenix Defendants have gained market power in

the secondary market as a result of anticompetitive and exclusionary conduct such as

fraudulent statements, refusals to pay, and COI rate increases. The Court finds that

plaintiff has adequately alleged that the Phoenix Defendants have market power. The

Court should determine the factual issues concerning the economic reality of the

market, including the barriers to entry, on summary judgment.

       c.      Exclusionary Conduct

       Defendants assert that plaintiff has failed to allege exclusionary conduct or

anticompetitive acts. Defendants maintain that the alleged policy correspondence,

legal actions, COI rate increases, policy illustrations, and refusals to confirm coverage

constitute lawful conduct that may have created uncertainty among the investors.

       Exclusionary conduct consists of acts that tend to impair the opportunities of

rivals and that do not further competition on the merits or do so in an unnecessarily

restrictive way. Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605

n.32 (1985).



                                             12
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 13 of 28



              i.     Litigation

       Plaintiff has alleged that defendants pursued a “massive wave of litigation”

against policyholders and have taken litigation positions in order to interfere with

secondary market competition. Defendants contend that the litigation represents a

legitimate effort to seek redress from the courts and that such conduct is immune from

antitrust liability. See Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510-

11 (1972). An exception to this immunity exists when litigation is used as an

anticompetitive weapon. Kearney v. Foley & Larner, LLP, 590 F.3d 638, 643-44 (9th

Cir. 2009). The antitrust plaintiff must demonstrate that the lawsuit was (1) objectively

baseless, and (2) a concealed attempt to interfere with the plaintiff’s business

relationships rather than an attempt to achieve a legal remedy. Professional Real

Estate Investors, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 60 (1993).

       Defendants maintain that abundant legal precedent affirms that insurers may

challenge policies for lack of an insurable interest even after the two-year contestibility

provision has expired. See PHL Variable Ins. Co. v. Charter Oak Trust, 2012 WL

2044416, *6 (Conn. Super. 2012); PHL Variable Ins. Co. v. Price Dawe 2006 Ins. Trust,

28 A.3d 1059, 1067 (Del. Supr. 2011). In accordance with this precedent, defendants

have legitimately pursued litigation to challenge insurance policies that appear to lack

insurable interests.2 Accordingly, the Court finds defendants’ litigation was not

objectively baseless and is therefore immune from antitrust liability.



       2
       Courts have also held that the Phoenix Defendants are entitled to retain
premiums on a policy that has been found to have been fraudulently procured. PHL
Variable Ins. Co. v. Morello Irrevocable Trust, 645 F.3d 965, 970 (8th Cir.2011).

                                             13
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 14 of 28



              ii.    Refusals to Verify Policies

       Plaintiff alleges as exclusionary conduct the Phoenix Defendants’ refusals to

verify policy validity and payment of benefits on future policy claims. Defendants

maintain that there is no legal obligation to do so.

       In an unpublished decision, the Central District of California noted: “Phoenix’s

obligation to pay the death benefits is contingent on the Receiver’s continued

performance of the insurance contracts by timely paying the premiums. In sum,

Phoenix’s obligations are not yet due, may never become due if the Receiver decides to

stop paying the premiums, and, in event the Policies do mature, Phoenix may decide to

pay them.” Mosier v. Phoenix Life Insurance Co., 3:12cv227 (PSG-E) (C.D. Cal.

August 7, 2012). The Court recognizes the contingent nature of the Phoenix

Defendants’ obligation to pay benefits. However, a recent decision concerning a

factually analogous case from the District of Minnesota is instructive.

       The District Court of Minnesota considered the plausibility of a fraud claim based

on allegations that PHL had represented that a life insurance policy was “in force,”

“issued” and had “value,” although PHL actually considered the policy void and

intended to challenge it. U.S. Bank National Assoc. v. PHL Variable Insurance Co.,

2013 WL 2936099 (D. Minn. June 14, 2013). The Court ruled that the claim of fraud

based on affirmative misrepresentation failed because PHL’s statements that the policy

was “in force” “issued” and had “value” were not false at the time. However, the Court

held that PHL could be liable for fraudulent nondisclosure. Based on the allegations,

PHL had a duty to disclose that it considered the policy void and would challenge it: (1)

PHL had sole knowledge of its intentions; and (2) PHL’s communications had led U.S.

                                             14
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 15 of 28



Bank to believe that it would honor the policy when PHL actually intended to challenge

it. This holding is consistent with the legal principle that a duty to disclose known facts

is imposed on a party insofar as it voluntarily makes a disclosure. Macomber v.

Travelers Property and Cas. Corp., 261 Conn. 620, 635 (2002). Plaintiff has alleged

that defendants made numerous representations by mail that the Policies were valid, in

force and that the Policies would not be contested, but that defendants intended not to

honor the policies and to contest them. Taking these allegations as true, the Court

finds that defendants did have a duty to disclose a known intention to contest or not to

honor the Policies. The Court will leave plaintiff to its proof.

              iii.   Refusals to Record Transfers of Ownership

       Plaintiff alleges that, in March 2009, the Phoenix Defendants refused to record

transfers of ownership in response to requests by several trusts. Defendants maintain

that plaintiff should have alleged other instances where the Phoenix Defendants

refused to record ownership changes and that plaintiff has failed to allege that

defendants have refused to record transfers of ownership relevant to plaintiff’s Policies.

However, plaintiff has alleged that such bad faith conduct was intended to, and did,

substantially depress demand for Phoenix policies in the secondary market. Plaintiff

has alleged the requisite facts to establish plausible exclusionary conduct. It need not

allege that defendants refused to record transfers of ownership relevant to plaintiff’s

Policies or cite to other instances of such conduct.

              iv.    Policy Liens

       Plaintiff asserts that the Phoenix Defendants have revived policy liens to limit

transferability and avoid payment of claims. At paragraph 132, plaintiff alleges:

                                              15
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 16 of 28



“Phoenix claimed it could not pay the benefits [that had become due when the insureds

passed away] unless plaintiff provided Phoenix with a schedule to a purchase

agreement to which plaintiff was not a party, which Phoenix said it needed to prove that

its own prior conduct in releasing the collateral assignments had, in fact, been correct.”

At paragraph 134, plaintiff alleges:

       Phoenix used this pretense to delay the payment of $30 million to Lima for
       six months, after which Phoenix was finally forced to pay. . . . Phoenix
       engages in this sort of conduct in order to make Plaintiff and other actual
       and potential market participants believe they cannot rely on Phoenix’s
       own representations and policy information received directly from
       Phoenix. With such unreasonable conduct and the resulting uncertainty,
       no potential market participant would be willing to compete with Phoenix in
       the acquisition of Phoenix policies in the secondary market.

       Defendants contend that this conduct cannot be considered exclusionary

because plaintiff has now been paid in full. However, plaintiff has alleged sufficient

facts to establish plausible anticompetitive conduct based on defendant’s revival of

previously released liens.

              v.     Policy Correspondence and Notice of COI Rate Increases

       Plaintiff has alleged that the Phoenix Defendants issued false policy statements;

and that defendants’ notices of COI rate increases3 and fraudulent policy illustrations


       3
         Defendants argue that the allegedly improper COI increases predate plaintiff’s
acquisition of the Policies. COI increases were recognized by plaintiff as a risk factor
bearing the value of its investment. The publicly available “Listing Particulars” issued by
plaintiff in connection with a security offering involving the Policies states that “at least
one life insurance company publicly announced an increase in its cost of insurance
policies earlier this year, which creates a meaningful possibility that the cost of
insurance under one or more Policies may be higher than currently anticipated since
such increase may include Policies within the Portfolio as well as lead to similar
increases by such insurance company or other insurance companies that affect other
Policies.” However, the Court cannot determine on this motion to dismiss the extent to
which plaintiff was aware of the alleged COI increases by the Phoenix Defendants prior

                                             16
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 17 of 28



overstating the COI rates represented part of a fraudulent scheme to induce lapses of

policies and thereby monopsonize the secondary market. The Court must consider the

allegations to be true on a motion to dismiss, and therefore, it cannot determine

whether defendants’ conduct was actually legal or fraudulent at this stage of the

pleadings.

       3.     Attempted Monopsony

       Plaintiff has alleged attempted monopsony, which requires allegations that (1)

defendants engaged in predatory or anticompetitive conduct; (2) defendants had the

intent to monopsonize; and (3) there was a dangerous probability of achieving

monopsony power. Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993).

       Defendants maintain that there is no risk of the alleged monopsony because

plaintiff has not alleged a plausible market, market power or exclusionary conduct. For

the reasons previously articulated with regard to the claim of monopsony, the Court

finds that plaintiff has alleged a plausible attempted monopsony claim.

       B.     CUTPA

       Plaintiff has based its CUTPA claim upon violation of the Connecticut Unfair

Insurance Practices Act (“CUIPA”).4 Plaintiff alleges that the Phoenix Defendants’

anticompetitive conduct violates CUIPA’s prohibition of “[b]oycott, coercion, and



to acquisition of the Policies.
       4
        The Connecticut Supreme Court has not yet decided whether a private right of
action exists under CUIPA. U.S. Bank Nat. Ass’n v. PHL Variable Ins. Co., 2013 WL
791462, *10 n.10 (S.D.N.Y. 2013). However, it is well settled that violations of CUIPA
may be alleged as a basis of CUTPA. Nazami v. Patrons Mut. Ins. Co., 280 Conn. 619,
625 (2006).

                                           17
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 18 of 28



intimidation” as unfair and deceptive acts in the business of insurance. Defendants

maintain that plaintiff has not alleged conduct giving rise to a CUTPA claim within the

insurance context.

       Defendants argue that a “boycott” has been defined within the context of antitrust

law as “a concerted refusal to deal” with a disfavored purchaser or seller. St. Paul Fire

& Marine Ins. Co. v. Barry, 438 U.S. 531, 536 (1978); and that “coercion” and

“intimidation” have been defined by courts as compulsion accompanied by threats of

serious harm or words that place the complainant in a state of fear. See United States

v. Paris, 2007 WL 3124724, at *12 (D. Conn. 2007) (defining coercion in the context of

a federal criminal statute prohibiting sex trafficking by fraud, force or coercion); State v.

Myers, 21 A.3d 499, 503 (Conn. App. 2011) (defining intimidation according to everyday

meaning).

       Plaintiff does not address defendants’ assertion that no cognizable boycott has

been alleged. It counters that the complaint alleges that the Phoenix Defendants have

engaged in coercion and intimidation by trying to force policyholders to lapse or

surrender their policies.

       The Court notes that defendants’ cases defining “coercion” and “intimidation” are

not specific to the context of CUIPA. Defendants have provided no authority indicating

that the Connecticut legislature intended that coercion and intimidation should be

afforded such meaning to maintain a CUIPA claim. Accordingly, the Court will not

dismiss these claims on the motion to dismiss because the law does not firmly establish




                                             18
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 19 of 28



that dismissal is proper. See Acadia Ins. Co. v. Connecticut Light & Power Co., 2013

WL 467817, *1 (D. Conn. 2013) (dismissal on a motion to dismiss is not appropriate if

the claim can be construed as plausible).

       Additionally, plaintiff contends that its allegations against defendants also satisfy

the other provisions of CUIPA that prohibit misrepresentations, false advertising, false

information and unfair claim settlement practices. Although the complaint does not

clearly allege that it asserts such violations of CUIPA, the Court finds that the complaint

is susceptible to such interpretation.

       Defendants also assert that plaintiff has not alleged damages. For purposes of

CUTPA, the extent of the loss need not always be proven with specificity but a party

must show that the CUTPA violation produced some loss. Nationwide Mut. Ins. Co. v.

Mortensen, 606 F.3d 22, 30 (2d Cir. 2010). In certain circumstances, nominal damages

may be awarded on a CUTPA claim where a party has demonstrated liability but is

unable to prove the amount of damages incurred. See Whitaker v. Taylor, 99 Conn.

App. 719, 733 (2007). In ruling on this motion to dismiss, the Court cannot determine

as a matter of law that plaintiff’s claim fails for lack of damages.

       Accordingly, the Court will allow plaintiff to amend the complaint to clarify the

violations of CUIPA that it asserts within count three.

       C.     RICO

       Defendants argue that plaintiff’s RICO allegations are deficient because (1)

plaintiff has not adequately alleged how the Individual Defendants were involved in the

racketeering acts; (2) plaintiff has alleged anticipatory breach of contract rather than

mail and wire fraud; (3) plaintiff lacks standing because it has not been injured; (4)

                                             19
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 20 of 28



plaintiff has failed to allege a conspiracy; and (5) the McCarran-Ferguson Act exempts

defendants’ activities from RICO liability.

       1.     Individual Defendants’ Alleged Conduct

       Plaintiff alleges that the Individual Defendants are liable under the civil RICO

statute, 18 U.S.C. § 1962(c), which provides that it is unlawful for “any person employed

by or associated with any enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, to conduct or participate, directly or indirectly, in the

conduct of such enterprise’s affairs through a pattern of racketeering activity. . . .” A

RICO claim based on mail and wire fraud must satisfy Federal Rule of Civil Procedure

9(b) by pleading with particularity the circumstances constituting fraud. See Lundy v.

Catholic Health Sys. of Long Island Inc., 711 F.3d 106, 119 (2d Cir. 2013). Facts must

be alleged as to each individual defendant. DeFalco v. Bernas, 244 F.3d 286, 306 (2d

Cir. 2001).

       A plaintiff must establish that a RICO person directed a RICO enterprise in a

pattern of racketeering activity that proximately caused injury to plaintiff’s business or

property. Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985). Here, plaintiff

alleges that defendants perpetrated their fraudulent scheme through mailings. A RICO

“enterprise” must be separate and distinct from the “person” conducting the

racketeering activities of the enterprise. DeFalco, 244 F.3d at 307. A corporate entity

cannot be the “enterprise” and the “person” engaged in the activity prohibited under

RICO. Bennett v. U.S. Trust Co. of N.Y., 770 F.2d 308, 315 (2d Cir. 1985).

Accordingly, where “employees of a corporation associate together to commit a pattern

of predicate acts in the course of their employment and on behalf of the corporation, the

                                              20
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 21 of 28



employees in association with the corporation do not form an enterprise distinct from

the corporation. Riverwoods v. Chappaqua Corp. v. Marine Midland Bank, N.A., 30

F.3d 339, 344 (2d Cir. 1994).

       Defendants advance that the complaint is deficient because it lacks specific

allegations concerning each defendant’s participation in the enterprise. Defendants

posit that the complaint alleges that defendants collectively “resolved” to prevent the

Phoenix Defendants from paying claims on investor-owned policies and “directed”

routine correspondence that failed to disclose the intent to void the policies.

       Plaintiff counters that the complaint meets the requirement of alleging

participation pursuant to Section 1962(c) as set forth by the “operation and

management test” of Reves v. Ernst & Young, 507 U.S. 170, 185 (1993), which

provides that in order to conduct or participate in the affairs of an enterprise, “one must

participate in the operation or management of the enterprise itself.” A plaintiff must

allege facts sufficient to establish that a RICO defendant had “part in directing the

enterprise’s affairs.” Id. at 179.

       The complaint alleges, inter alia, that the Individual Defendants (1) are senior

executives who formed an Insider’s Circle that worked to bury information and prevent

information from leaking; (2) “made a conscious decision” not to honor policies owned

by investors that were purchased in the secondary market; (3) directed affirmative

misrepresentations to policyholders about the decision not to honor the policies; (4)

misled investors to continue making premium payments despite the intent to rescind or

void the policies; and (5) directed notices to policyholders advising them that COI rates

were being raised so as to shock policyholders into lapsing or surrendering their

                                            21
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 22 of 28



policies. Courts have dismissed actions where a plaintiff has alleged only that the

RICO defendant was involved in the alleged enterprise. See In re Smithkline Beecham

Clinical Laboratories, Inc.,108 F. Supp. 2d 84, 99 (D. Conn. 1999) (citing cases).

       Although the complaint is highly detailed with regard to the value of defendants’

stock shares and marketing of insurance policies to be sold to investors in the

secondary market, the complaint lacks specific allegations as to actual acts specific to

each of the Individual Defendants. At present, the complaint provides conclusory or

even speculative allegations regarding the Individual Defendants’ intent, participation

and management of the alleged RICO Phoenix enterprise. Plaintiff appears to rely

upon the corporate positions of the Individual Defendants to indicate their ability to

direct or manage the enterprise. Accordingly, the Court will grant the motion to dismiss

on the ground that plaintiff has failed to allege conduct by the Individual Defendants

with adequate specificity.

       Defendants also argue that plaintiff has failed to establish allegations of a

plausible RICO conspiracy pursuant to 18 U.S.C. § 1962(d), which provides that it is

“unlawful for any person to conspire to violate any of the provisions of” 18 U.S.C. §

1962(a), (b) or (c). Thus, plaintiff must establish (1) that defendants agreed to facilitate

the operation of a RICO enterprise through a pattern of racketeering activity; and (2)

that defendants agreed to commit the requisite predicate acts in furtherance of a

pattern of racketeering activity in connection with the enterprise. Cofacredit, S.A. v.

Windsor Plumbing Supply Co., Inc., 187 F.3d 229, 244 (2d Cir. 1999).

       Defendant asserts that plaintiff’s claim for conspiracy also fails because plaintiff

has not sufficiently pleaded its RICO claim under Section 1962(c). To the extent that

                                             22
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 23 of 28



plaintiffs’ Section 1962(c) claim is subject to dismissal, the Court will also dismiss the

claim of conspiracy.

       To determine whether plaintiff should be afforded the opportunity to replead, the

Court must consider defendants’ arguments relevant to lack of predicate acts, lack of

injury and standing, and the McCarran-Ferguson Act.

       2.     Mail and Wire Fraud

       Plaintiff alleges that defendants used the mail and wires to send correspondence

that contained mispresentations of fact or fraudulently concealed that defendants

secretly intended to deny death claims on life insurance. Plaintiff may not predicate a

RICO claim on a hypothetical or anticipatory fraud. Giuliano v. Fulton, 399 F.3d 381,

389 (1st Cir. 2005). Thus, plaintiff may not rely on the allegation of misrepresentations

to the policyholder, but it may predicate the mail and wire fraud on the alleged

fraudulent nondisclosure. See Duska v. Middletown, 173 Conn. 124, 127 (1977)

(explaining mere nondisclosure does not amount to fraud except when there is a failure

to disclose known facts under circumstances that impose a duty to speak). In light of

this Court’s prior discussion regarding the Phoenix Defendants’ duty to disclose known

facts relevant to defendants’ intention to pay future policy benefits, the Court finds that

plaintiff may predicate the RICO claims pursuant to Sections 1962(c) and 1962(d) on

mail and wire fraud based on fraudulent nondisclosure.

       3.     Injury and Standing

       Defendants maintain that plaintiff’s claims are unripe and lack the requisite

injury. RICO provides a cause of action to “[a]ny person injured in his business or

property by reason of” a RICO violation. 18 U.S.C. § 1964(c).

                                             23
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 24 of 28



       Defendants complain that plaintiff has not yet submitted a death benefit claim,

and therefore, it cannot assert that it has sustained damages due to defendants’ failure

to pay on the claim. Defendants assert that plaintiff cannot seek recovery for payments

on claims that it believes will not be honored.

       The RICO violation at issue must be proximate cause of the injury to plaintiff’s

business or property. Terminate Control Corp. v. Horowitz, 28 F.3d 1335, 1344 (2d Cir.

1994); a plaintiff must have sustained clear and definite damages. Allstate Ins. Co. v.

Lyons, 843 F. Supp. 2d 358, 374 (E.D.N.Y. 2012). A claim will be dismissed for lack of

statutory standing where the extent of damages remains unknown and the injury is

speculative. DeSilva v. North Shore-Long Island Jewish Health Sys., Inc., 770 F. Supp.

2d 497, 520 (E.D.N.Y. 2011). Whether the claim involves “uncertain or contingent

events that may not occur” represents an important consideration to the determination

of a RICO claim’s ripeness for adjudication. Lincoln House, Inc. v. Dupre, 903 F.2d

845, 847 (1st Cir. 1990).

       In this instance, plaintiff pleaded that it has already lost money due to Policies

that have either lapsed or been surrendered, and that defendants have failed to pay or

delayed making payments on $33 million in claims. Plaintiff also asserts that

defendants’ fraudulent scheme has resulted in the devaluation of the Policies. These

alleged injuries are all susceptible to a proof because they are not contingent upon

events that are yet to occur.

       Plaintiff has also alleged that defendants’ fraud-- including the statements

concerning policy validity that failed to disclose the intent to challenge the Policies--has

caused plaintiff to purchase the Policies and continue making premium payments.

                                             24
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 25 of 28



Such injury is premised upon the contingency that plaintiff will not recover the benefits

of the Policies. Accordingly, the Court will dismiss any claimed injuries that are hinged

upon facts that have yet to be determined.

       4.      McCarran-Ferguson Act

       Defendants argue that plaintiff’s claims are incompatible with the McCarran-

Ferguson Act.

       The McCarran-Ferguson Act provides that “continued regulation and taxation by

the several States of the business of insurance is in the public interest,” and that

“silence on the part of the Congress shall not be construed to impose any barrier to the

regulation or taxation of such business by the several States.” 15 U.S.C. § 1011.

Section 1012(b) provides that federal legislation not specifically relating to the business

of insurance cannot be “construed to invalidate, impair, or supersede any law enacted

by any State for the purpose of regulating the business of insurance.” The Supreme

Court has held that RICO is applicable in the insurance context when it aids or

enhances the state regulation and “does not frustrate any declared state policy or

disturb the State’s administrative regime . . . .” Humana Inc. v. Forsyth, 525 U.S. 299,

303 (1999). Courts should not go out their way to find impairment of a state scheme

without clear indication of impairment. Weiss v. First Unum Life Ins. Co., 482 F.3d 254,

268 (3d Cir. 2007).

            Defendants argue that application of RICO would disrupt Connecticut

insurance law that regulates the content of information transmitted to a policyholder.

Defendants point out that Connecticut insurance regulations require the issuance of

annual policy statements that specify information including policy values and death

                                             25
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 26 of 28



benefits and production of an illustration that contains specific information. However,

defendants doe not elaborate as to how a federal cause of action seeking remedies for

fraud related to the annual statements and illustrations will invalidate, impair and

supersede Connecticut’s insurance laws.

       In Humana, the Supreme Court noted that Nevada law provided both statutory

and common law remedies, including punitive damages for bad faith conduct, to check

insurance fraud; RICO’s provision for treble damages, which could be lower than a

punitive damages award pursuant to Nevada law, appeared to complement the existing

remedies. 525 U.S. at 311. In Connecticut, punitive damages may be awarded upon a

showing of fraud, O’Leary v. Industrial Park Corp., 211 Conn. 648, 651 (1989), or for

violations of CUIPA brought pursuant to CUTPA. United Technologies Corp. v.

American Home Assur. Co., 118 F. Supp. 2d 174, 175 (D. Conn. 2000). Connecticut

common law punitive damages are limited to a plaintiff’s litigation expenses less taxable

costs. Hylton v. Gunter, 142 Conn. App. 548, 2013 WL 1905333, *3 (2013). However,

CUTPA does not prescribe an approach for calculating punitive damages but instead

leaves such determination to the discretion of the trial court. Carrillo v. Goldberg, 141

Conn. App. 299, 313 (2013). Thus, a plaintiff seeking relief under Connecticut law

could recover damages exceeding RICO’s treble damages. See Humana, 525 U.S. at

313. Accordingly, the Court finds no frustration of state policy by the instant RICO

litigation. The McCarran-Fergusan Act does not prohibit plaintiff’s RICO claim.

              D.     Fraud and Conspiracy

       Plaintiff alleges fraud and conspiracy against all defendants. Defendants argue

that the fraud and conspiracy claims fail for the same reason as the RICO claim.

                                            26
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 27 of 28



Consistent with the discussion relevant to the RICO claim, plaintiff has not pleaded

fraud with particularity with regard to the conduct by the Individual Defendants.

       The Court will dismiss the claim of conspiracy with prejudice because the

allegations concern conduct of employees acting in the scope of their duties for their

employer. The intracorporate conspiracy doctrine bars a finding of conspiracy among

employees of a corporation where the wrongful conduct was performed within the

scope of official duties where the conduct (1) occurs within the employer’s authorized

time and space limits; (2) is of the type that the employee is employed to perform; and

(3) is motivated, at least in part, by a purpose to serve the employer. Harp v. King, 266

Conn. 747, 782 (Conn. 2003); Metcoff v. Lebovics, 123 Conn. App. 512, 527 (2010) (an

employee acts within the scope of his employment as long as he or she is discharging

duties no matter how irregularly). The intracorporate conspiracy doctrine does not bar

claims of conspiracy based on private acts performed by persons who work at the same

place of employment. Harp, 266 Conn. at 777. Here, plaintiff argues that it has alleged

that the Individual Defendants were motivated by personal self-interest. However, the

allegations establish that the Individual Defendants were also acting in their official

duties within the scope their employment and motivated, at least in part, to further the

interest of the Phoenix Defendants.

       E.     Repleading

       Federal Rule of Civil Procedure 15 provides that leave to amend a pleading

“shall be freely given when justice so requires.” Generally, courts permit repleading

after granting a motion to dismiss. Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d

42, 48 (2d Cir. 1991). However, a district court has discretion to deny repleading where

                                             27
       Case 3:12-cv-01122-WWE Document 76 Filed 07/01/13 Page 28 of 28



there is no indication from a liberal reading of the complaint that an amendment will

cure the deficiency of the complaint. See Leonelli v. Pennwalt Corp., 887 F.2d 1195,

1198-99 (2d Cir. 1989). The Court has found that plaintiff’s claims of RICO violation

and fraud fail for lack of particularity concerning the conduct of the Individual

Defendants but that such claims are not otherwise deficient. Accordingly, the Court will

permit plaintiff the opportunity to replead its RICO and fraud claims with particularity.

                                      CONCLUSION

       For the foregoing reasons, the Court GRANTS the motion to dismiss as to the

alleged violations of Connecticut General Statutes § 35-28 and the claim of common

law conspiracy, which are dismissed with prejudice. The Court GRANTS the motion to

dismiss as to the RICO and common law fraud claims, which are dismissed without

prejudice. The Court DENIES the motion to dismiss as to the alleged violations of

Connecticut General Statutes § 35-27, although the allegations that defendants’

litigation constitutes exclusionary conduct are dismissed. The Court also DENIES the

motion to dismiss the claim of CUTPA violation.

       Within thirty days of this Ruling’s filing date, plaintiff should file an amended

complaint consistent with this Ruling.

       Dated at Bridgeport, Connecticut, this 1st day of July 2013.



                                                     /s/
                                           Warren W. Eginton
                                           Senior United States District Judge




                                             28
